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UNITED STATES BANKRUPTCY COURT                                        SOUTHERN DISTRICT OF TEXAS


                                         MOTION AND ORDER
                                     FOR ADMISSION PRO HAC VICE

          Division                   Houston              Main Case Number               19-36313
          Debtor            In Re:                  Southern Foods Group, LLC, et al.


This lawyer, who is admitted to the State Bar of                  Louisiana                 :

                       Name                             Mark J. Chaney, III
                       Firm                             McGlinchey Stafford PLLC
                       Street                           601 Poydras Street, Suite 1200
                 City & Zip Code                        New Orleans, LA 70130
                    Telephone                           504-596-2784
                                                        Louisiana Bar No. 35704
             Licensed: State & Number

Seeks to appear as the attorney for this party:

 Automotive Rentals, Inc., a New Jersey corporation, and ARI Fleet LT, a Delaware business trust


 Dated: 11/13/2019                        Signed: /s/ Mark J. Chaney, III




 COURT USE ONLY: The applicant’s state bar reports their status as:                                 .



 Dated:                                   Signed:
                                                          Deputy Clerk



                                                     Order


                                     This lawyer is admitted pro hac vice.

Dated:
                                                           United States Bankruptcy Judge
